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                  EXHIBIT 5
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NOTE: It is strongly recommended that applicants review
our Certification Standards for the full list of standards
assessed during review in order to be certified.
                                                                                               •
                                                                                              •• LegitScript



Healthcare Certification Application
Checklist
Welcome to the Healthcare Certification application checklist! We are thrilled to accompany
you on your journey towards LegitScript Healthcare Certification. Our application checklist
is crafted to provide you with a clear understanding of the compliance review process.
We believe that achieving certification should be a positive and empowering experience,
reflecting your dedication to maintaining the highest standards in healthcare.

As you navigate through the checklist, remember that we are here to help and support you.
We highly encourage you to review our Certification Standards, Terms & Conditions, and
program FAQs for a comprehensive understanding of our requirements. Any questions
that you may have regarding our certification program and review process can be directed
to our team at Certification@LegitScript.com.

Thank you for choosing to embark on this journey with us – we look forward to supporting
you every step of the way!



Licensure and Registration                                    □ Prescribing/dispensing    controlled substances?
                                                                 Please upload a copy of your DEA Certificate(s).
□ Be sure to include your active Secretary of State
     filing number on the Business Registration tab.

□ Are you prepared to provide the active license              Legal Compliance
     information for every jurisdiction you operate
     within, including pharmacy, wholesaler, and
                                                              □ Make sure your website’s language and product
                                                                 offerings follow state and/or country-specific laws
     manufacturer licensure?                                     and regulations.
□ Do you act as a broker/host to third parties who            □ Subject to discipline within the last 10 years?
     carry out telehealth? Please enter applicable license       Please have evidence/documentation to support
     information on the telemedicine tab to include              discipline resolutions. Please reference our Terms
     practitioner licenses (i.e., MD, NP and PA license          & Conditions - IV(d.), for examples of Disciplinary
     numbers).                                                   Action.
     □ If you provide telehealth services, please             □ Ensure your website features a U.S. HIPAA-
          fill out all applicable information within our         compliant (or country specific) privacy policy, or
          telemedicine template.                                 have one ready for our review if you do not have an
                                                                 online presence.

                                                                                                   Exhibit 5
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legitscript.com                                                                Healthcare Certification Application Checklist
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                                                                                                  •• LegitScript
Patient Services                                               Affiliates
□ Have you ensured your products and services                  □ Ensure all affiliates or affiliations with your business
     are up-to-date with regulatory requirements, and              are also compliant with our Certification Standards.
     that you are not offering prohibited services or
     impermissible products?                                       □ Affiliates are any individual, business, or entity
                                                                       who previously, currently, or is expected to have
□ Please ensure advertising claims are in line with                    a commercial and/or professional relationship
     current FDA guidelines.                                           with the applicant organization or its principals.

□ Does your platform facilitate the sale of                            □ Common barriers can include affiliations
     compounded medications? If so, please complete                         with the sale of CBD ingestible products, the
     each applicable tab within our compounding                             sale of unapproved drugs ex: impermissible
     addendum template.                                                     peptides or bulk drug substances, or
                                                                            affiliates with severe disciplinary history.


Transparency
                                                               □ Remember, all applicable business models utilized/
                                                                   promoted on the submitted domain must also be
□ When uploading an image of your domain’s Whois                   certified, per our Terms & Conditions - VI(d.)
     information, is the contact information depicted
     transparent and accurate?
                                                               □ Does your platform promote/link to a third party
                                                                   provider or provider group to perform telehealth?
     □ Please be sure your privacy protection is                   If so, the promoted URL is required to be certified.
          removed so the image displays the following
          Whois information: registrant name, registrant
          organization (if applicable), registrant address,    Partner Pharmacy Requirements
          registrant phone number, and registrant email
          address.                                             □ Did you know all partner pharmacies are required
                                                                   to be certified through LegitScript, or be NABP-
□ Are patients on your platform receiving medications              accredited?
     in the mail? Please display the address and phone
     number of the dispensing pharmacy on your                     □ A partner pharmacy is defined as a pharmacy
     website.                                                          utilized by an applying entity to fulfill and
                                                                       dispense prescription medication orders to/for
□ Is your website still under development/expecting                    patients of the applying entity.
     updates? Please prepare wireframes/screenshots
     and the expected timeframe of completion.                 □ Have you searched and verified your partner
                                                                   pharmacy’s LegitScript certification status here? Is
□ Please create a test patient account and provide                 your partner pharmacy ‘Certified’ or ‘Legitimate’?
     us with a username and password to access your
     patient/client portal.                                        □ If yes, great. Please be ready to have the
                                                                       pharmacy representative email us to confirm
                                                                       this affiliation.

                                                                   □ If not, please confirm they are ready and willing
                                                                       to apply for their own certification.




Questions? Email our team at Certification@LegitScript.com

                                                                                                       Exhibit 5
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legitscript.com                                                                    Healthcare Certification Application Checklist
